
PER CURIAM:
On June 5, 1978, the Supreme Court of the United States, pursuant to a petition for a writ of certiorari and response thereto, rendered its order vacating the judgment of this Court (553 F.2d 459) and remanded the cause to us for further consideration in light of Marshall v. Barlow’s, Inc., 436 U.S. -, 98 S.Ct. 1816, 56 L.Ed.2d 305 (1978).
Under the circumstances, it is necessary that the matter receive further consideration in the District Court in light of the order of the Supreme Court of the United States.
Accordingly, the judgment of the District Court is vacated and the cause is remanded for consideration in light of the Supreme Court’s order.
VACATED AND REMANDED.
